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16

17                                  UNITED STATES DISTRICT COURT
18                            NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20
     IN RE COLLEGE ATHLETE NIL                        Case No. 4:20-cv-03919-CW
21   LITIGATION
                                                      JOINT SUPPLEMENTAL BRIEF IN
22                                                    SUPPORT OF FINAL APPROVAL OF
                                                      CLASS ACTION SETTLEMENT
23
                                                      Judge: Hon. Claudia Wilken
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 1                                            INTRODUCTION

 2            The issue before the Court is whether “the settlement taken as a whole, rather than the

 3   individual component parts,” is fair and reasonable. Staton v. Boeing Co., 327 F.3d 938, 952 (9th

 4   Cir. 2003) (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1999)). Under that

 5   standard, the case for approval is clear. As the Parties have previously explained, the Settlement

 6   Agreement will open the door for schools to share approximately 50% of athletic department

 7   revenues with, and provide additional scholarships to, student-athletes. It also clears the way for

 8   many NIL transactions with third parties and submits the remainder to a fairer and more transparent

 9   review and enforcement process. In so doing, the settlement opens the door for greater competition

10   between schools, which is exactly what the underlying antitrust lawsuits seek to accomplish. There

11   is accordingly no question that the Settlement Agreement, as submitted to the Court, is a vast

12   improvement over the status quo. It is also a win for the Parties upon consideration of “the risk,

13   expense, complexity, and likely duration of further litigation,” Staton, 327 F.3d at 959, particularly

14   given that the past decade of litigation has resulted in lesser outcomes and delayed benefits to

15   student-athletes.

16            While the Parties continue to stand by the Settlement Agreement as it was presented to the

17   Court, we have carefully re-evaluated it in light of the Court’s comments and questions, as well as

18   the points raised by objectors, at the Final Approval Hearing. We have addressed some, but not all,

19   of the points the Court identified, and explain our approach below. These revisions further confirm

20   what over 99.9% of the class members have apparently realized—the Settlement Agreement is fair

21   and reasonable, and should be approved so that its benefits can fully flow to the classes.

22   I.       The Ten-Year Injunction Term Is Consistent With Rule 23 And Due Process, And
              The Parties Have Made Further Changes To The Settlement To Confirm What They
23            Always Intended And Address the Points Expressed by the Court.

24            The ten-year injunctive relief settlement term is essential for providing stability for class

25   members and Division 1 college sports and is a central component of the Settlement. The alternative

26   would be a succession of new antitrust cases each year, with uncertain—and potentially

27   inconsistent—outcomes that could take years more to resolve. This is why the seminal antitrust

28   class action settlements in the sports industry have involved multi-year injunctions. See White v.

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 1   Nat’l Football League, 822 F. Supp. 1389 (D. Minn. 1993), aff’d, 41 F.3d 402 (8th Cir. 1994), cert.

 2   denied, 115 S.Ct. 2569 (1995); Bridgeman v. Nat’l Basketball Ass’n, 838 F. Supp. 172, 174 (D.N.J.

 3   1993); Alexander v. Nat’l Football League, 1977 WL 1497 (D. Minn. Aug. 1, 1977); Robertson v.

 4   Nat’l Basketball Ass’n, 72 F.R.D. 64 (S.D.N.Y. 1976), aff’d 556 F.2d 682 (2d Cir. 1977). The same

 5   multi-year settlement structure is in the best interest of the Injunctive Relief Settlement Class here.

 6            During the Final Approval Hearing, the Court raised questions about the procedures to make

 7   sure that all future Injunctive Relief Settlement Class members have a clear notice and opportunity

 8   to object to the continuation of the Settlement before releasing their injunctive relief claims. The

 9   Parties appreciate the Court’s rigor in fulfilling its role of ensuring that the Settlement is fair and

10   reasonable. In response to the Court’s questions, the Parties have agreed to adjust the release

11   provisions of the Settlement Agreement, consistent with their intent and representations during the

12   Final Approval Hearing, to clarify that future Division 1 athletes will not release their injunctive

13   relief claims until they have received notice and an opportunity to object to the continuation of the

14   Settlement. See Berman Decl., Ex. A, (revised release provisions).1 This clarification, the proposed

15   notice that will be provided to each future class member (Berman Decl., Ex. C), and the objection

16   procedures provided therein are, to the Parties’ knowledge, the most robust and protective process

17   ever devised to safeguard the rights of future Injunctive Relief Settlement Class members. They

18   fully comply with Rule 23 and due process.

19            A.       Class Action Injunctive Relief Settlements Regularly Include Future Class
                       Members Who Receive the Benefits, And Are Subject To The Terms, Of The
20                     Settlement
21            During the Final Approval Hearing, the Court asked whether injunctive relief class action

22   settlements, such as this one, can include future class members. See Final Approval Hr’g Tr. (“Tr.”)

23   at 165:17–166:20. The answer is unequivocally yes: “[c]lass action settlements may cover both

24   present and future class members.” LeClair v. Mass. Bay Transp. Auth., 300 F. Supp. 3d 318, 323

25   (D. Mass. 2018) (collecting authorities); see also A.B. v. Haw. State Dep’t of Educ., 30 F.4th 828,

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      1
27       These revised release provisions are incorporated into the Third Amended Settlement
     Agreement, which is attached as Exhibit A to the Declaration of Steve W. Berman in Support of
28   Joint Supplemental Brief in Support of Final Approval of Class Action Settlement (“Berman
     Decl.”), filed concurrently herewith.
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 1   838 (9th Cir. 2022) (“The inclusion of future class members in a class is not itself unusual or

 2   objectionable, because when the future persons referenced become members of the class, their

 3   claims will necessarily be ripe.” (quoting Rodriguez v. Hayes, 591 F.3d 1105, 1118 (9th Cir. 2010)).

 4   In multiple contexts—ranging from education, to sports, to employment, to housing—where the

 5   composition of the class is inherently transitory, courts have approved Rule 23(b)(2) injunctive

 6   relief settlement classes that include future class members who are subject to the benefits and

 7   restrictions of the injunction.

 8            For example, in White, the District of Minnesota approved—and the Eighth Circuit

 9   affirmed—a seven-year injunctive relief settlement between the NFL and a plaintiff class that

10   included “all college and other football players who have been, are now, or will be eligible to play

11   football as a rookie for an NFL team at any time from August 1, 1987, to the date of final approval

12   of the settlement of this action.” 822 F. Supp. at 1403, aff’d, 41 F.3d 408 (8th Cir. 1994) (emphasis

13   added).2 In other words, the class included football players who were not yet (and may never have

14   been) NFL players when the settlement was approved, so long as they were “eligible” to play in

15   the NFL in the future. As the District of Minnesota explained:

16                     To be effective, any settlement must [ ] address the NFL ‘structural’
                       rules that will govern players in future years. Thus, a comprehensive
17                     agreement or order must encompass such future rules in order to
                       afford appropriate relief to plaintiffs and to be acceptable to the
18                     defendants.
19   Id. at 1408.3

20            Similarly, in Staton v. Boeing Co., the Ninth Circuit approvingly discussed a three-year

21   injunctive relief settlement between Boeing and a plaintiff class of “all African-Americans

22
      2
         In Amchem, the Supreme Court noted that Rule 23’s certification criteria apply with equal force
23   for settlement-only classes and should not be “obviated” or “reduce[d]” in the context of a
     settlement. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 618 (1997). The Court quoted the Eighth
24   Circuit’s passing observation in White that “the adequacy of class representation [] is ultimately
     determined by the settlement itself,” White, 41 F.3d at 408, but did not call into question White’s
25   holding. And indeed, after making that remark in White, the Eighth Circuit went on to analyze and
     overrule objectors’ specific adequacy objections, consistent with Amchem, concluding that they
26   lacked merit as a factual matter, rather than relying on the settlement. Id.
       3
27        See also Robertson v. Nat’l Basketball Ass’n, 389 F. Supp. 867, 896–97 (S.D.N.Y. 1975)
     (explaining that in the class certification context, “[c]ourts have approved classes which included
28   future members” and explaining that any concern about notice would be alleviated because
     “plaintiffs have agreed to give notice of the proceedings to all present and future members.”)
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 1   employed by Boeing from the beginning of the applicable limitations periods until the expiration

 2   of the decree (including new employees hired after the preliminary approval date of the decree).”

 3   327 F.3d at 948 (emphasis added).4 Likewise, in Gaskin v. Pennsylvania, the Eastern District of

 4   Pennsylvania approved a five-year settlement between the Pennsylvania public school system and

 5   a plaintiff class of:

 6                     all present and future school age students with disabilities in the
                       Commonwealth of Pennsylvania who have been denied the option of
 7                     receiving a free appropriate education with individualized supportive
                       services, or have been placed in regular education without supportive
 8
                       services, individualized instruction and accommodations they need
 9                     to succeed in the regular classrooms.

10   389 F. Supp. 2d 628, 629–31 (E.D. Pa. 2005) (emphasis added). And in Baez v. New York City

11   Housing Authority, the Southern District of New York approved a three-year settlement between

12   the New York City Housing Authority (“NYCHA”) and a class of “[c]urrent and future residents

13   of NYCHA who have asthma that substantially limits life activity and who have mold and/or

14   excessive moisture in their NYCHA housing.” Order at 2–4, No. 1:13-cv-08916-WHP (S.D.N.Y.

15   Apr. 8, 2014) (ECF No. 21). In each of these cases, the court approved a multi-year injunction

16   binding future class members because of the need for long-term structural changes that would both

17   benefit and bind future class members.5

18            Yet, in none of these cases approving multi-year injunctive relief settlements did any court

19   express a concern about how the class notice would reach future class members, about the ability

20   of the class representatives and class counsel to represent those individuals’ future interests, or

21   about the fact that future class members would be bound by the injunctive relief secured under the

22   settlement. With good reason: as the Seventh Circuit recognized, where a “group’s composition

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      4
         The Staton settlement approval was reversed by the Ninth Circuit not because it involved future
24   class members but “because of several considerations relating to the award of attorneys’ fees and
     because of the structure of the damages payments established by the decree.” Id. at. 945.
25     5
         The Ninth Circuit has also rejected arguments that including future class members creates a
26   conflict. See Probe v. State Tchrs. Ret. Sys., 780 F.2d 776, 779, 781 (9th Cir. 1986) (defining class
     to include those who were, “are or will be employed” and “who are currently receiving, eligible to
27   receive or in the future will receive” retirement benefits, over objection “that there is a conflict
     between currently retired teachers and teachers presently working,” reasoning that if the challenge
28   plan “violate[s] Title VII, it will be invalidated notwithstanding the fact that there may be some
     who would prefer that it remain in operation”).
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 1   changes every day,” “[t]here would be little point” in entering a settlement agreement that “bind[s]

 2   only those who were [class members] on the day the [settlement] was signed.” Martin v. Davies,

 3   917 F.2d 336, 339 (7th Cir. 1990).

 4            In this case, the Injunctive Relief Settlement goes to unprecedented lengths to ensure that

 5   future class members will have unvarnished notice and an opportunity to object. As Plaintiffs

 6   previously committed, they will add new class representatives throughout the Injunctive Relief

 7   Settlement term to ensure that there is always a current athlete representative.6 Tr. at 26:21–27:1.

 8   In addition, every future class member will receive direct notice of the Injunctive Relief Settlement

 9   at or before the time he or she first enrolls or first joins an athletic team. See Berman Decl., Ex. C

10   (proposed notice); Ex. A (Third Amended Settlement Agreement), ¶ 14. Upon receipt of the notice,

11   each future class member will have 60 days to determine whether to: (i) release any right to

12   challenge the terms of the Injunctive Relief Settlement by participating in Division I college sports

13   without submitting an objection, (ii) not participate in Division I college sports (and therefore not

14   be bound), or (iii) submit an objection to the Court explaining why she or he thinks that the

15   Injunctive Relief Settlement should not continue.

16            Further, in response to the Court’s questions, and consistent with the Parties’ representations

17   at the Final Approval Hearing about how the Settlement was always intended to work, the Parties

18   have agreed to amend the Settlement Agreement to clarify that future class members will not release

19   any injunctive relief claim against Defendants until their 60-day objection window has lapsed or

20   until their objection is ruled upon by the Court. If the settlement is approved, the Parties will also

21   submit to the Court a proposed timeline for the upcoming Academic Year with more specific dates,

22   which will include a proposed hearing date where the Court can hear and consider any new

23

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      6
25      Substituting out class representatives as a named plaintiff graduates is permissible. See, e.g.,
     Robichaud v. Speedy PC Software, 2013 WL 818503, at *8 (N.D. Cal. Mar. 5, 2013) (“[W]here a
26   named plaintiff’s individual claims fail or become moot for a reason that does not affect the viability
     of the class claims, courts regularly allow or order the plaintiffs’ counsel to substitute a new
27   representative plaintiff.” (internal citations omitted)). At the current time, Sedona Prince is still a
     student and thus has active standing to represent the Injunctive Relief Settlement Class. New class
28   representatives who are current students will be added over the ten-year life of the Injunctive Relief
     Settlement so that there is always at least one such class representative in place.
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 1   objections to the Injunctive Relief Settlement from incoming class members. The Parties will

 2   follow the same procedure each year during the Injunctive Relief Settlement term.

 3            In short, this process unquestionably comports with the notice requirements of Rule 23 and

 4   due process, and is exponentially more robust than any other notice and objection procedure that

 5   the Parties are aware of.

 6            B.       There Are No Due Process Concerns Arising From Future Class Members’
                       Limited Release Of Injunctive Relief Claims
 7
              The Court also asked if the Injunctive Relief Settlement would violate future class
 8
     members’ due process rights by requiring them to release their claims for injunctive relief. The
 9
     answer is no. Courts regularly find that future class members—even those who never receive notice
10
     of a settlement and could not have conceived that they would become a class member in the
11
     future—can be barred from asserting future injunctive relief claims. But here, the Parties are going
12
     to extraordinary lengths to ensure that every future class member understands her rights and is
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     provided an opportunity to make an informed judgment: a future class member will not release any
14
     claims until she has received notice and an opportunity to object to the continuation of the
15
     Injunctive Relief Settlement.
16
              As previously discussed, in White v. NFL, the District of Minnesota approved—and the
17
     Eighth Circuit affirmed—a settlement that included both then-current and future NFL players. 822
18
     F. Supp. at 1403 (D. Minn. 1993), aff’d, 41 F.3d 402 (8th Cir. 1994), cert. denied, 115 S.Ct. 2569
19
     (1995). The release in that settlement, as set forth in the Court-approved notice, applied to both
20
     current and future NFL players:
21

22                     If the proposed settlement is approved by the Court, the National
                       Football League and its member clubs will be released from any and
23                     all liability to class members for all claims alleged in the Complaints,
                       and class members will be precluded from obtaining any further
24                     damages or injunctive relief based upon the following claims that:
                       … (B) the NFL College Draft is unlawful and an unreasonable
25                     restraint of trade in violation of the antitrust laws; (C) the NFL Player
                       Contract or any term therein, is unlawful and an unreasonable
26                     restraint of trade in violation of the antitrust laws.
     Notice of Class Action Settlement at 1–2, White, No. 4:92-cv-00906-MJD (D. Minn Feb. 26, 1993)
27
     (ECF No. 82) (emphases added). Creating this long-term certainty was necessary in the unique
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 1   context of sports. As Judge Doty explained, “[i]f individual players file separate actions seeking

 2   injunctive relief against NFL player restraints, there is a substantial risk of inconsistent or varying

 3   adjudications which would result in incompatible standards of conduct for the defendants.” White,

 4   822 F. Supp. at 1408 (“One court could grant injunctive relief, a second might deny such relief, and

 5   a third might grant injunctive relief that materially differs from that granted by the first court.”).

 6   These differing results “would impair the [league’s] ability to pursue a uniform continuing course

 7   of conduct where pragmatic considerations require that the defendants act in the same manner to

 8   all members of the class.” Id. (quoting Robertson, 584 F.2d at 283).

 9            The same is true here. College sports would be entirely unmanageable if individual future

10   college athletes (or groups of future athletes) pursued different types of injunctive relief year over

11   year over year. Indeed, college sports could not operate effectively if certain rules apply to certain

12   athletes (or groups of athletes), while different rules apply to others. For the same reason, it would

13   be impracticable for the Court to certify a new injunctive relief class each year with different rules

14   applying to each class. The Injunctive Relief Settlement works only if it is durable and applicable

15   to all current and future class members.

16            Still, it is important to emphasize that future class members are not without rights. First, no

17   future class members are releasing their right to pursue future damages claims. Second, every future

18   class member will receive notice and have the right to object to the Injunctive Relief Settlement—

19   and have any objection adjudicated—before her release takes effect. See Berman Decl., Ex. A, ¶¶

20   14, 19–21.

21            This proposed structure is more protective of future class member rights than due process

22   requires, as no future class member is subject to any release until after she receives notice of her

23   class membership and an opportunity to object. In other cases, courts have barred future class

24   members under principles of res judicata and claim preclusion from pursuing injunctive claims

25   even where they had no notice that they were members of a class, and even where they did not

26   explicitly release those claims as part of the class action settlement.

27            In LeClair v. Massachusetts Bay Transportation Authority, the District of Massachusetts

28   dismissed a case from seeking injunctive relief against the Massachusetts Bay Transportation

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 1   Authority (“MBTA”) under the Americans with Disabilities Act, finding that those claims were

 2   barred by a class action settlement entered by the MBTA eleven years earlier. 300 F. Supp. 3d at

 3   321. Under the earlier settlement, the class was defined to include “[a]ll individuals with …

 4   disabilities, as defined by Title II of the [ADA] … who use, will use, or would use the bus, light

 5   rail, and heavy rail rapid transit services.” Id. at 323 (alterations in original, emphasis added). In

 6   LeClair, the plaintiff argued that precluding his claim would “violate his due-process rights”

 7   because he was not a class member at the time of the prior settlement—he only became disabled

 8   after that settlement was entered. Id.

 9            The District of Massachusetts found that argument “unpersuasive for multiple reasons.” Id.

10   Among other things, the Court explained that the settlement class “explicitly included future

11   members (that is, persons who would become disabled in the future and who would use the

12   MBTA).” Id. at 324. In addition, the Court expressed concern that “the requested relief—that is,

13   separate injunctive relief addressing the identical subject matter [as the prior settlement]—would

14   undermine the finality of the settlement and create a substantial potential for inconsistent

15   judgments.” Id.

16            In Blunt v. Lower Merion School District, a group of African American students brought a

17   series of claims concerning the Pennsylvania Department of Education’s failure to identify and

18   accommodate the students’ disabilities due to racial animus. 767 F.3d 247 (3d Cir. 2014). The

19   District of Pennsylvania held that a class action settlement agreement in Gaskin v. Pennsylvania—

20   which was entered two years before Blunt was filed—barred the claims. Id. at 262. The Third

21   Circuit affirmed. See generally id. The Circuit Court noted that “[t]he Gaskin plaintiffs made

22   similar (although not identical) allegations as those in this case” on behalf of a class of plaintiffs

23   that “was very broad and included ‘all present and future school age students with disabilities in

24   the Commonwealth of Pennsylvania.’” Id. at 262–63. Thus, “[al]though not all[] of the plaintiff

25   students” in Blunt were class members at the time of the Gaskin settlement, the Court nonetheless

26   concluded that the Blunt claims had been released. Id. at 281–82.

27            In contrast to the plaintiffs in the above-mentioned cases, the Injunctive Relief Settlement

28   here provides future class members direct notice of their membership in the class, an opportunity

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 1   to object to the continuation of the Injunctive Relief Settlement, and does not provide for any release

 2   until he or she has an opportunity to submit an objection and have it adjudicated. In sum, the

 3   proposed ten-year Injunctive Relief Settlement here—which provides all future class members

 4   unprecedented notice and protections—is clearly consistent with the requirements of Rule 23 and

 5   due process. It should be approved as being in the best interests of the Injunctive Relief Settlement

 6   Class.

 7   II.      The Immediate Implementation Of Roster Limits Poses No Bar To Approval.
 8            As the Parties explained at the hearing, the immediate implementation of the roster limits

 9   in the Injunctive Relief Settlement is part of an overall settlement compromise that is fair and

10   reasonable to the Injunctive Relief Settlement Class, considered as a whole. The Parties are aware

11   of no other organized team sports association—and Objectors have identified none—that operates

12   without some form of roster limit. Courts have recognized the ability of sports organizations to

13   have reasonable rules regulating their sports, which includes roster sizes. See, e.g., Race Tires Am.,

14   Inc. v. Hoosier Racing Tire Corp., 614 F.3d 57, 83 (3d Cir. 2010) (“[S]ports-related organizations

15   should have the right to determine for themselves the set of rules that they believe best advance

16   their respective sport.”). Moreover, it remains the case that (1) roster spots are not currently

17   guaranteed, such that the Settlement does not take away anything to which student-athletes are

18   currently entitled; (2) Defendants explained how they calibrated the roster limits to make the

19   transition as smooth as possible; and (3) the move to roster limits is part of the overall compromise

20   to open the door to countless more scholarships that may be awarded and, more generally, greater

21   and different forms of competition between schools to provide benefits and attract and retain

22   student-athletes. See, e.g., ECF No. 717 at 43–45; ECF No. 721 at 8–13; ECF No. 745 at 1–4; Tr.

23   202:20–207:12.

24            The Parties appreciate the perspective and heartfelt stories that the student-athletes who

25   objected shared, including those shared at the hearing. Defendants have evaluated—and discussed

26   with numerous member institutions—the Court’s suggestion to “grandfather” in the roster limits.

27   Defendants, however, have informed Class Counsel that those discussions revealed no practicable

28   way to do so, because “grandfathering” roster limits would cause significant disruption. The Parties

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 1   are both independently aware that member institutions and student-athletes have been making

 2   decisions in anticipation of the roster limits being immediately effective if the Settlement is

 3   approved.

 4            Prior to preliminary approval, objectors raised concerns about the immediate

 5   implementation of roster limits. See, e.g., ECF No. 475 at 16 (Molo Objection noting that “[f]or

 6   many schools and sports, these roster sizes are below current and projected team sizes, which

 7   include walk-ons, and may impact their recruiting strategies”). The Court nevertheless granted

 8   preliminary approval, finding it “will likely be able to approve the Settlement as fair, reasonable,

 9   and adequate pursuant to Rule 23(e)(2), subject to further consideration at a hearing.” ECF No. 544

10   at 2–3. Over the following six months, in order to be prepared for the upcoming academic year,

11   member institutions and student-athletes have been proceeding on the understanding that the roster

12   limits would “likely” go into effect immediately. Id. That understanding has impacted numerous

13   decisions and preparations around budgeting, recruiting, and enrollment that needed to be made.

14   Defendants have informed Class Counsel that member institutions in non-Defendant Conferences

15   have made initial decisions about whether or not to opt into the Pool structure if the Settlement is

16   approved; some have elected not to, in which case the roster limits have no effect on their student-

17   athletes. Those member institutions in Conferences that are parties to the Settlement, or that have

18   indicated they will opt to provide additional benefits permitted by the Settlement if the Settlement

19   is approved, have made decisions about how they will allocate resources across their athletic

20   department, including scholarships and other forms of financial aid.

21            These decisions, in turn, cascaded into tens of thousands of decisions by individual student-

22   athletes. Many kept their pre-existing roster spots (and may now receive scholarships), because the

23   roster limits were designed to capture the average number of participants across a season and

24   thereby minimize disruptions from the transition. See ECF No. 721 at 9–11 (describing initial roster

25   limits); Tr. at 206:3–18 (describing process for establishing roster limits). Some transferred to new

26   schools to seek roster spots and enhanced opportunities for athletic competition. Even though

27   student-athletes make similar decisions every year for reasons independent of the Settlement (and

28   coaches also advise student-athletes that there will be no roster spot the following year), at least

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 1   some of those decisions this year were likely made because of the Settlement. Incoming student-

 2   athletes have likewise made choices about where to enroll, potentially based on expectations of

 3   receiving a specific amount of playing time or opportunities for competition during the year.

 4            For all these reasons, while implementing a “grandfather” provision might benefit some

 5   athletes, it would, at the same time, upset the settled expectations, enrollment decisions, and other

 6   preparations of numerous other student-athletes and member institutions. The Parties note,

 7   however, that the number of student-athlete objectors who have claimed to be cut as a result of the

 8   Settlement remains small—less than .05% of the class, if that. See ECF No. 628 at 1–2 (identifying

 9   tens of student-athletes compared to almost 390,000 class members).7 And any adjustment to

10   implementation of the roster limits is likely to have a snowball effect that would adversely impact

11   other class members. There are likely many more student-athletes who made different decisions

12   about where to compete this year or next year based on the likelihood that roster limits would be in

13   effect, some of whom may also want a re-do if that door is opened. Those include student-athletes

14   who transferred to a different institution in search of roster spots and enhanced opportunities for

15   athletic competition. The group wanting a re-do may also include incoming or transferring student-

16   athletes who would receive less playing time or competition opportunities than expected if

17   additional students were added to their roster under a grandfathering approach. And every

18   additional “round” of re-dos permitted would create a new set of potentially affected student-

19   athletes who might want re-dos themselves; with thousands if not more individual decisions having

20   been made on the understanding the roster limits would likely go in effect in less than three months.

21   Defendants have therefore concluded that a “grandfather” provision is unworkable.

22            Notwithstanding the questions raised concerning roster limits, the Parties continue to agree

23   that final approval should be granted given the overwhelming benefits of the Settlement for the

24   Injunctive Relief Settlement Class. And that is so even looking just at the roster limits in isolation,

25   as those limits apply to all Class members equally—who each have the opportunity to receive

26

27    7
        The Settlement ensures that any athlete who is released from his or her team because of roster
28   limits will nonetheless retain his or her athletic scholarship. Third Amended Injunctive Relief
     Settlement, Art. 4, § 1.
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 1   significant new benefits that will likely collectively total tens of billions of dollars over ten years.

 2   But see Staton, 327 F.3d at 952; Hanlon, 150 F.3d at 1026 (discouraging such isolated analysis).

 3            At the hearing, Defendants articulated their procompetitive justifications for roster limits,

 4   including protecting competitive balance and enhancing output. See Tr. at 40:0–41:3; 217:1–

 5   220:17. Moreover, the move from scholarship limits to higher roster limits under which more

 6   student-athletes can receive athletic aid is a move towards a less restrained market—the stated goal

 7   of the antitrust lawsuits the Parties have settled. Indeed, while it is unfortunate that a small number

 8   of athletes may ultimately have lost roster spots as a result of the Settlement, the Settlement afforded

 9   them an opportunity to compete for scholarships (or larger scholarships) and additional

10   compensation and benefits that were not previously available. The law generally does not sustain

11   objections to a class settlement based upon the operation of a less restrained marketplace in which

12   class members must compete with one another for such opportunities. See, e.g., Laumann v. Nat’l

13   Hockey League, 105 F. Supp. 3d 384, 400, 405–06 (S.D.N.Y. 2015). The Court’s prior rulings in

14   these cases endorse this principle, and there is no basis for a different outcome here. See In re

15   College Athlete NIL Litig., 2023 WL 8372787, at *27 (N.D. Cal. Nov. 3, 2023) (rejecting

16   “substitution effect” argument regarding “substitutions or displacements that may or may not take

17   place in a hypothetical but-for world”); In re NCAA Athletic Grant-In-Aid Cap Antitrust Litig., 311

18   F.R.D. 532, 541–42, 546 (N.D. Cal. 2015) (“Here, although Defendants suggest that class members

19   might prefer to leave an unlawful restraint in place because they otherwise would have to compete

20   against one another, such preference for non-competition does not justify denying injunctive relief

21   class certification.”); see also Cohen v. Brown Univ., 16 F.4th 935, 948–51 (1st Cir. 2021).

22            In short, the Injunctive Relief Settlement, including the roster limits, creates more

23   competition when viewed as a whole, and that should not be a basis for denying approval of a class

24   settlement of antitrust claims.

25   III.     Plaintiffs Have Adequately Addressed Any Glitches In The Settlement
              Administration Process.
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              At the Final Approval Hearing, the Court referenced “glitches” with the website and notice
27
     and allocation process and asked the parties to further address these issues and the efforts to address
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 1   Class Member questions. Class Counsel, who have been overseeing these matters, respond as

 2   follows.

 3            Throughout the notice period and continuing to now, there has been an email address and

 4   phone number offered on the website for Class Members to submit inquiries. During the notice

 5   period, Verita Global, LLC (the “Settlement Administrator”) received over 36,457 inquiries by

 6   email and phone and responded on average within 1.5 days. ECF No. 717-4, ¶ 31. The Settlement

 7   Administrator has and will continue to log calls and emails received from class members, as well

 8   as any unsuccessful attempts to return calls and emails. The approved Notice Plan provides for a

 9   telephone hotline and an email support service. ECF No. 450-5, ¶¶ 44–45. In addition, Class

10   Counsel has similarly communicated with hundreds of Class Members and will continue to offer

11   additional support for questions that arise.

12            Individual allocation estimates have been available through the settlement website since

13   December 17, 2024. Class members have also been able to access information regarding the bases

14   for those allocations from the data provided by their schools, including third-party NIL deals. Class

15   Members have been offered the opportunity to submit additional or corrected information related

16   to scholarship status, playing years, and third-party NIL deals if they believe the reported data was

17   inaccurate. Class Counsel and Defendants have worked diligently to go back to Division I member

18   institutions to confirm details in response to class member inquiries and correct any errors that may

19   impact a class member’s allocation and will continue to do so.

20            To the extent class members have submitted updated information, such as third-party NIL

21   deals or scholarship status that impact an individual class member’s allocation, the estimated

22   allocation will be updated. Updates to allocations will be calculated and be made available to all

23   class members once the late-claim deadline has passed and after the Court rules on Class Counsel’s

24   attorneys’ fees motion. Because multiple categories of damages are distributed based on the number

25   of claims filed, a single, simultaneous recalculation of allocations after the claims period has

26   expired will be the most cost-efficient and accurate manner of recalculating allocations and will

27   avoid the confusion of repeated changes to a class member’s estimate.

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 1            Class Counsel and Defendants have agreed to accept late-filed claims up to May 16, 2025.8

 2   With the Court’s permission, the Settlement Administrator will publish this updated claims

 3   deadline on the front page of the settlement website. The Settlement Administrator will also issue

 4   an additional press release and send an email update to all Class Members who have valid email

 5   addresses and have not filed a claim, indicating the updated deadline to submit claims and clearly

 6   identifying the information necessary to file a claim. These additional notices will also remind class

 7   members who are eligible for direct payments to update their contact information and payment

 8   method.

 9            Certain objectors stated there were inaccuracies with their estimated allocation amount.

10   ECF Nos. 637, 638, 669, 670, 671, 680, 695. Class Counsel has communicated with several of

11   these Objectors, including the objectors who spoke on this issue at the Final Approval Hearing, and

12   will continue to do so to explain the basis behind their allocations which are either limited by statute

13   of limitations, class eligibility, or an inability to prove third-party NIL damages. For those who

14   provided additional NIL information prior to the cutoff date for updating such information (such as

15   that provided by Objector Olivia Dunne), updated allocations will be made.

16   IV.      The Release Of The College Football Playoff Is Appropriate.
17            Last, the release of the College Football Playoff is appropriate, as all of the entities that

18   comprise the College Football Playoff are affiliated with or comprised of the Defendants or their

19   member schools. To avoid any doubt, the Parties have added the defined term “College Football

20   Playoff”9 to make clear which entities are currently encompassed by the release. But the Parties are

21
      8
         The opt-out deadline has passed. Defendants have already allowed a series of late opt-outs
22   supported by sufficient proof of an effort at timely submission, and there is no warrant for a further
     extension.
23     9
         The term is defined to include (1) CFP Administration, LLC (“CFPA”), a Delaware limited
24   liability company, whose members are the Conference Defendants, together with the American
     Athletic Conference, Conference USA, the Mid-American Conference, the Mountain West
25   Conference, the Sun Belt Conference, and the University of Notre Dame; CFPA manages the day-
     to-day affairs of the College Football Playoff and sells tickets and certain sponsorships related to
26   the College Football Playoff National Championship Game; (2) CFP Events, Inc., a Delaware
     corporation, all the shares of which are owned by CFPA; CFP Events manages certain events
27   ancillary to the National Championship Game, such as the CFP fan fest; (3) BCS Properties, LLC,
     a Delaware limited liability company that holds the trademarks and copyrights related to the
28   College Football Playoff; and (4) the College Football Playoff Foundation, a Delaware non-profit
     that provides charitable support for primary and secondary education teachers.
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 1   in agreement that the revenues from the College Football Playoff will be captured in the Pool,

 2   through MFRS categories 11 (“Media Rights”), 13A (“Conference Distributions of Football Bowl

 3   Generated Revenues”), and 19 (“Football Bowl Revenues”). See Third Amended Injunctive Relief

 4   Settlement Art.3 § 1(c) & App. A.

 5

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 1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2            Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in

 3   the filing of this document has been obtained from the signatories above.

 4                                                  By: /s/ Steve W. Berman
 5                                                         STEVE W. BERMAN

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